

People v Dalton (2021 NY Slip Op 02257)





People v Dalton


2021 NY Slip Op 02257


Decided on April 13, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 13, 2021

Before: Manzanet-Daniels, J.P., Mazzarelli, Oing, Kennedy, JJ. 


Ind No. 289/17 Appeal No. 13583 Case No. 2019-5493 

[*1]The People of the State of New York, Respondent,
vTheodore Dalton, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Molly Schindler of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Shane Magnetti of counsel), for respondent.



Order, Supreme Court, Bronx County (Raymond L. Bruce, J.), entered on or about June 28, 2019, which adjudicated defendant a level three predicate sex offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court properly exercised its discretion when it declined to grant a downward departure (see People v Gillotti, 23 NY3d 841 [2014]). The mitigating factors defendant cites were adequately taken into account by the guidelines or are outweighed by defendant's criminal history of three sex offenses, two of which were felonies, and the fact that he committed the underlying offense after having twice been adjudicated a level
three offender. The application of the presumptive override for a prior sex offense does not overassess defendant's risk of reoffense.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 13, 2021








